UNITED STATES DISTRICT COURT
EASTERN DlSTRICT OF TENNESSEE
AT KNOXVILLE

ROBERT & CHRISTINE MORRISON,

 

Plaintiffs,
vs. Case No.:
Jury Demanded
STATE FARM lNSURANCE COMPANIES,
d/b/a STATE FARM INSURANCE, Removed from the Circuit Court of
d/b/a STATE FARM FIRE AND CASUALTY, Morgan County,TN,Case No.: 6690C

Defendants.

DEFENDANT STATE FARM FIRE & CASUALTY CO.’S NOTICE OF REMOVAL

Defendant State Farm Fire & Casualty Co. incorrectly named as “State Farm Insurance
Companies dfb/a State Farrn lnsurance dfb/a State Farm Fire and Casualty” (“State Farm”) hereby
tiles this Notice of Removal of this action h'om the Circuit Court for Morgan County, Tennessee, to
this Court pursuant to 28 U.S.C. §§1332, 1441 and 1446. ln support of this Notice of Remova],
defendant State Farm Would show the Coult the following:

1. Plaintiffs Robert and Christine Morrison filed a Complaint against State Farm in the
Circuit Court for Morgan County, Tennessee, at Wartburg on February 27, 2009 (Case No. 6690C).
The Summons and Cornplaint were served on defendant State Farm on April 2, 2009.

2. True and correct copies of all process, pleadings and orders issued to defendant State
Farm in the removed action are attached hereto as Exhibit “A.”

3. Plaintiffs are citizens cf the State of Tennessee.

4. Defendant State Fann is a mutual insurance company organized under the laws of the

Case 3:09-cV-00186-TAV-CCS Document 1 Filed 04/29/09 Page 1 of 13 Page|D #: 1

State of Illinois with its principal place of business in Bloomington, Illinois.

5. As recited in the ad damnum of the Complaint, plaintiffs seek compensatory damages
in the amount of $500,000.00 and punitive damages in the amount of $1,500,000.00.

6. This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. §1332,
as complete diversity of citizenship exists between the parties and the amount in controversy exceeds
$75,000.00 exclusive of interest and costs.

7. The time for filing this petition for removal under the provisions of 28 U.S.C.
§§1332, 1441 and 1446 has not expired as this Notice of Removal has been filed with the Court
within thirty (30) days of service of` the state court action upon State Farm.

8. A written notice of the filing of this Notice of Removal has been served on counsel
for the plaintiffs as required by 28 U.S.C. §1446(d).

9. A true and exact copy of both this Notice of Removal and Notice to State of Removal
of Claims to the United States District Court have been mailed to the Morgan County Circuit Court
Clerk’s Office for filing in accordance with the provisions of 28 U.S.C. §l446(d). A true and exact
copy of the Notice to State of Removal of Claims to the United States District Court is attached
hereto as Exhibit “B.”

10. ln filing this Notice of Removal, defendant State Farm specifically preserves all
available affirmative defenses, including the defenses available to it pursuant to Rule l2(b) of the
F ederal Rules of Civil Procedure.

WI-IEREFORE, defendant State Farrn respectfully requests removal of this action from the
Circuit Court of Morgan County, Tennessee at Wartburg to the United States District Court, Eastem

District of Tennessee at Knoxville.

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Respectfully submitted,

BAKER, o'KANE,
ATKINS & THoMPsoN

/QLWL/

MICHAEL K. ATKINS, BPR #017862
2607 Kingston Pike, Suite 200

P.O. Box 1708

Knoxville, Tennessee 37901-1708

(865) 637~5600

(865) 637-5608 (fax)

Attorney for State Farm Insurance
Companies d/b/a State Farm Insurance
d/b/a State Farm Fire and Casualty

 

CERTIFICATE OF SERVICE

I, Michael K. Atkins, hereby certify that a true and exact copy of the foregoing document has

been served via U.S. Mail on April 29, 2009:

John 'I`. Sholly, Esq.

1522 Washington Pike
P.O. Box 1491

Knoxville, TN 37901-1491

Pam Lively, CIerk

Morgan County Circuit Court
Morgan County Courthouse
Wartburg, TN 37887

ZWL/

MICHAEL K. ATKINS

 

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T.n Whom lt May Conoem:

We are enclosan herew‘m'l a doeumentthat has been served nn this depam'nent on your behalf m connean with
the above-styled maher.

l hereby make oath that the attached areth Of Contlaet Gc)mplaint was served on me on Apr'\l 02. 2009 by

Robert s Ghrist'me Morrisqn pursuant to Tenn. code Ann. § 56-24504 or § 56-2-506. A copy cf this document is
bean sent to the Circuit Court of Morgan County, TN.

Brenda C. Meaue
Designated Agent
Serv'tea oi Procass

Ene|osurs
cc: Circu'rt Court Clerk
Morgan County

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EXhibit “A”

Servlee of Proe¢ss 615.532.5260

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TO: STATE PARM INSURANCE COWANIES, STATE FARM D\TSURANCE, ST;:T§M
I:`.-aRMFIR.E AND CASUAL'I'Y, C/O Tennessee D¢paxtmenr of Comruerce and Insuran ,
Flocr, 500 Jam.es Ro‘oertsnn Pa:kway, Nas.lxville, Tennessee .37243

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which is herewith servedupon you., with 30 days aftet_servu:e of this simmons upon you,
exclusive of the date uf service You will ila the ongmel pl=admg with the Cou:rr.

If you fail to do sn, judgmem by default will be wken. against you farr the relief herein demanded

Issued this 27th day ofMarch., 2009 at §‘.'5 _C> o‘clock_;l;)_.m. Wimess, Clerk of`saicl Court_.
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ON SE.R CE OF SUMMONS

I hereby certify and return that on the day of ,
this emmons together wlththe petition as follows:

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would mathis Cotnplaint againsttlic Det'endan't to recov¢;reasonable compensation for personal
property damage sustained bytbem. In suppmt nfttris emma the plade would respectfully
aimwimto the Court the following

I.
Plainri£l`s, Roben and Christine Mcm-ison, were a.tthe'dme ofd)e aecidcnt, and still are,
residents ofMu:gan County, 'l`umessee residing ar 375 Ferkins Trail, Deex' Lodge, Tennessee
|ll § l?gig
II.
D:fcndant, STA]`E FARM INSURANCE COMPANIES , wu atthet`lme ofthe actid=o‘l,

and still is, an insurance business licms=d and registered m operate india stare uf'l'enncssee.

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IV.
State I~`armlnsmanoe Companies provided home owners insurance for the plainti£s for
tim above named residence on Maroh l, 2007,
V,
' Ar said n'me and place, the plainti&§r’ residence suffered severe weather damage
including being sm).ok by Iighming, earning significant PIOP¢HY dhmage to the residence '
lt till s w
The home owners policy, issued by State Farm Instxrance Cornpanies, and in hill force
mid eEect on March 1. 2007, Ymiiicaliy insured against damage bylig`tmnng strikes and other
W mha conditions.
VI|`.
The plaintifc's, on their ovm, and with the assistance ofcounsei. have attempted to resolve
ith me to a satisfactory conclusion since the incident occ\n‘red.
VIII.
` The defendant has reilsed to acknowledge that any damage was caused to me plaintiEs’
.rend.-.n¢= mme, including electrical wiring and nn mm inelr.
|!! fm 5 m
'Hn: defendant has refused to acknowledge this, even aider being presented with a report
-fmm a professional engineer that con£rmcd that damage was caused by a lightning strike, and
al.>‘o after hearing from their own claim investigators that damageto the plainl:if£s’ residential

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X.
BREACH OF CON'I'RACT
The above nine paragraphs are hereby mooted by refermce. The actions of
the defendant as outlined in paragraphs one through nine above constitute a willan breach of the
insurance contract between the plainti§'s and fec defendant
XI.
m 'i! ' 'r.c.A. § 56-7-105 -AcmromBAD FAHH
The above nine paragraphs are hereby incorporated by reference The actions of the
defendant as oudined in paragraphs one through nine above constitute acting in bad faith on the
pan ofthe insurance company '
XIL
T.C.A. § ses_w:i(s) -UNPA£R 011 DECEPHVE ACTS
The above nine paragraphs are hereby incorporated by reference The actions of the defendant m
outlined in paragraphs one through nine above constitute unfhir or decep‘live acts on the pan of

fine insurance company

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Case 3:09-CV-00186-TAV-CCS Documentl Fl|ed 04/29/09 Pagerf 13 Page|D#.QY

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WHER.`BFORE, Plaimi‘E§ demands the following:

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required to appear m almver'the Complaim within the time required by lew.

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Htmdred Thouse.nd Dol}a:rs ($500,000.00) in eomp=nmory damages, and One Million I-ive
I‘l;undred 'I'huusand Dollars ($1,500,000_00) in punitive damages.

H‘ §'§ ' 3. martha ease mm action be awarded m mame
4. 'l'hat ajuzy oftwelve persons be impaneled in try this muse.
5 . Such f\n'ther and other genexa] relief to which Plainu'Emay be entitled

R-¢$PB¢\`SE!HY Submitted,

MJM

lake T. Sholly, BP 6900
Attorney for Pl.ainti

P.O. Box 1491

Kmxville, '.L'N 37901-1491
(sss) 673-5040

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lN THE C[RCUIT COURT FOR MORGAN COUN’I`Y, TENNESSEE
AT WAR'I`BURG

ROBERT & CHRISTINE MORRISON,

Plaintiffs,

vs. No.: 6690C
Jury Demanded

STA'I`E FARM INSURANCE COMPANIES,

d/b/a STA'I`E FARM [NSURANCE,

d/b/a STA'I`E FARM FIRE AND CASUALTY,

Defendants.

NOTICE 'I`O STA'I`E OF REMOVAL OF CLAIMS
TO THE UNITED STATES DISTRICT COURT

 

TO: Pam Lively, Circuit Court Clerk
Morgan County Courthouse
Wartburg, TN 37887

Please take notice that the defendant, State F arm Fire and Casualty Company incorrectly
named as “State Farm Insurance Companies d/b/a State Farm Insurance d/b/a State Farm Fire and
Casualty” (“State Farm”) has filed a Notice of Rernoval of the claims asserted against defendant
State Farm in the above-styled matter with the office of the Clcrk of the United States District Court
for the Eastem District of Tennessee at Knoxville on April 29, 2009 pursuant to 28 U.S.C. § 1332,

1441 and 1446. A copy of said Notice of Removal is attached hereto as Exhibit “A.”

Respectfully submitted,
BAKER, O’KANE,
ATK[NS &, THOMPSON

de ad

MICHAEL K. ATKINS, BPR #017862
2607 Kingston Pike, Suite 200

P.O. Box 1708

Knoxville, Tennessee 37901-1708

(865) 637-5600; (865) 637-5608 (fax)
Attorney for State Farrn Fire

and Casualty Company

Exhibit “B”

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CERTIFICATE OF SERVICE
I, Michael K. Atkins, hereby certify that a true and exact copy of the foregoing document has
been served via U.S. Mail on Apri129, 2009:
John T. Sholly, Esq.
1522 Washington Pike

P.O. Box 1491
Knoxville, TN 37901-1491

%Q;

MICHAEL K. ATKINS

 

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